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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA


                                                      )
 SGS NORTH AMERICA, INC.                              )
                                                      )                     2:20-cv-00216
                                                          Civil Action No. _______________
                Plaintiff,                            )
                                                      )   COMPLAINT
 v.                                                   )
                                                      )
 ERP ENVIRONMENTAL FUND, INC.,                        )
 PHOENIX FEDERAL NO 2 MINING, LLC,                    )
 and CLARKE INVESTMENTS, LLC                          )
                                                      )
                Defendants.                           )
                                                      )

                                     NATURE OF THE CASE

       Plaintiff SGS North America, Inc. (“SGS”) brings this action for breach of contract,

quantum meruit, unjust enrichment, and account stated against ERP Environmental Fund, Inc.

(“ERP”), Phoenix Federal No 2 Mining, LLC (“Phoenix Federal”), and Clarke Investments, LLC

(“Clarke Investments”), (collectively, “Defendants”) through undersigned counsel, and alleges as

follows:

                                             PARTIES

       1.      Plaintiff SGS is a worldwide leader in testing, inspection, verification, and

certification services. It is now, and at all times referenced herein, a corporation organized and

authorized to transact business under the laws of the State of New Jersey, with its principal place

of business located in New Jersey.

       2.      Defendant ERP Environmental Fund, Inc. is now, and at all times referenced

herein, organized and authorized to transact business under the laws of the State of West

Virginia, with its principal place of business located in Virginia.



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        3.      Defendant Phoenix Federal No 2 Mining, LLC is now, and at all times referenced

herein, organized and authorized to transact business under the laws of the State of West

Virginia, with its principal place of business located in West Virginia.

        4.      Defendant Clarke Investments, LLC is organized and authorized to transact

business under the laws of the State of Virginia, with its principal place of business located in

Virginia.

                                   JURISDICTION AND VENUE

        5.      This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1332 because

Plaintiff SGS is a citizen of a state that is separate and different from the state of citizenship of

each and every Defendant.

        6.      As set forth below and incorporated herein, the amount in controversy

requirements of 28 U.S.C. § 1332 are satisfied because there is more than $75,000.00 at issue,

exclusive of costs and interest.

        7.      This action properly lies in the Southern District of West Virginia pursuant to 28

U.S.C. § 1391 because the facts giving rise to this lawsuit occurred predominantly in this District

and because at all times relevant to this action, the Defendants were subject to personal

jurisdiction in this District.

                                    STATEMENT OF FACTS

    A. Background on Clarke Investments

        8.      Upon information and belief, through a complicated web of subsidiaries and

affiliated companies, Clarke Investments pursues a strategy of purchasing coal mining assets out

of bankruptcy for the sole benefit, use, and potential profit of Clarke Investments.

        9.      Thomas Clarke (“Mr. Clarke”), a Virginia businessman, is the eponymous Chief

Executive Officer of Clarke Investments, and upon information and belief, is either an executive

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officer and/or director of the various Clarke Investments subsidiaries and affiliates. Upon

information and belief, ERP is a wholly owned subsidiary or corporate related affiliate of Clarke

Investments.

       10.     Indeed, Mr. Clarke is a corporate officer of Defendant ERP and in a 2016

submission to the U.S. Nuclear Regulatory Commission, Mr. Clarke identified himself as the

president and chief executive officer of ERP.

       11.     Further, ERP’s corporate registration filing in the State of West Virginia identifies

Mr. Clarke as a corporate officer of ERP and notes ERP’s corporate affiliation with several other

Clarke Investment companies, including Kissito Healthcare, Inc. and VCLF Land Trust, Inc.

       12.     Upon information and belief, prior to entering the coal mining business, Mr.

Clarke operated numerous nursing homes through his entity entitled Kissito Healthcare.

   B. SGS’s Business Relationship with Defendants

       13.     For many years, SGS had performed professional environmental monitoring

services for Peabody Energy at locations adjacent to its coal mining operations in West Virginia.

SGS and Peabody Energy entered into a formal contract governing these services.

       14.     More specifically, on a monthly basis, SGS employees would investigate

environmental conditions near specified coal mine locations, collect samples, and analyze the

samples for the presence of certain analytes. SGS would also provide the data to the West

Virginia Department of Environmental Protection (“WV DEP”) pursuant to applicable

regulations and Peabody Energy coal mine permit requirements (hereinafter, SGS’s professional

services are collectively referred to as “coal mine monitoring services”).

       15.     Upon information and belief, Peabody Energy spun off the majority of its Eastern

U.S. operations into Patriot Coal Corporation (“Patriot Coal”), and SGS continued to perform the



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coal mine monitoring services for Patriot Coal at the same locations it had previously conducted

this work for Peabody Energy. SGS and Patriot Coal entered into a formal contract governing

these services.

        16.       Upon information and belief, Patriot Coal filed Chapter 11 Bankruptcy

Reorganization, which was approved in 2015. Upon information and belief, on October 27,

2015, the bankruptcy judge approved the finalization of an asset purchase agreement between

Patriot Coal and Virginia Conservation Legacy Fund, Inc., which, upon information and belief, is

a Clarke Investments subsidiary that has publicly identified Mr. Clarke as the president and a

director.

        17.       From the inception of SGS’s business relationship with Defendants, Mr. Clarke

and Clarke Investments has been intimately involved: On or about October 22, 2015, Patriot

Coal contacted numerous vendors, including SGS, to arrange for the continuation of professional

services at its purchased properties. In addition to notifying SGS that it should continue

performing coal mine monitoring services for ERP Federal Mining Complex, LLC (another

Clarke Investments company), Patriot Coal explicitly explained that SGS should continue

performing coal mine monitoring services at the former Patriot Coal properties that Defendant

ERP acquired. Crucially, the communication identified Mr. Clarke as Defendant ERP’s Chief

Financial Officer. See Exhibit A (October 22, 2015 email from Bill Runyon).

        18.       Several days later on or about October 25, 2015, Clarke Investments sent SGS a

letter of introduction, which stated that “ERP Environmental Fund, Inc. is the compliance and

reclamation division of ERP Compliant Fuels, Inc., a partnership between Virginia Conservation

Legacy Fund, Inc. and IRON Management, LLC,” all Clarke Investments entities on information

and belief. The letter asked that SGS continue with “water testing/monitoring” at specified



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locations previously owned by Patriot Coal. Notably, Tom Clarke is copied on this e-mail

communication as a recipient. Further, although the communication ostensibly comes from ERP

and Virginia Conservation Legacy Fund, the individual transmitting the e-mail communication

has a “kissito.org” e-mail address, which, as noted above, is another Tom Clarke entity. See

Exhibit B (October 25, 2015 letter from Jennifer Bell).

       19.     Thus, in or about October 2015, SGS, on the one hand, and ERP and Clarke

Investments, on the other hand, entered into a contract for SGS to perform coal mine monitoring

services and thereafter in or about November 2015, SGS began performing coal mine monitoring

services for ERP and Clarke Investments (hereinafter, collectively referred to as the “ERP

Defendants”) at the same locations it had previously monitored for Peabody Energy and Patriot

Coal pursuant to Clarke Investments’ specific requests.

       20.     Likewise, upon information and belief, in or about May 2018, Clarke Investments

subsidiary ERP Federal Mining No. 2, LLC sold certain West Virginia coal mine assets to

Phoenix Federal where SGS had been performing coal mine monitoring services for Clarke

Investments and its subsidiary. Upon information and belief, Clarke Investments specifically

requested that SGS continue performing coal mine monitoring services at the same locations for

Phoenix Federal as SGS had been doing prior to the asset sale.

       21.     Thus, in or about May 2018, SGS, on the one hand, and Phoenix Federal and

Clarke Investments, on the other hand, entered into a contract for SGS to perform coal mine

monitoring services and SGS thereafter began performing coal mine monitoring services for

Phoenix Federal and Clarke Investments (hereinafter, collectively referred to the “Phoenix

Federal Defendants”) at the same locations it had previously monitored prior to the asset sale.




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       22.     Upon information and belief, although the aforementioned coal mine assets were

sold to Phoenix Federal, Clarke Investments remained responsible for compliance with certain

environmental monitoring and data reporting requirements since it was still the permittee of

these coal mines. This is the reason, upon information and belief, Clarke Investments and

Phoenix Federal entered into a contract with SGS for SGS to continue performing coal mine

monitoring services at these locations.

       23.     Accordingly, from approximately November 2015 to December 2019, SGS

performed coal mine monitoring services for Defendants in West Virginia. SGS would

investigate environmental conditions near the specified coal mine locations, collect samples,

analyze the collected samples, and report the resulting data to the WV DEP.

       24.     Defendants were cognizant of SGS performing the coal mine monitoring services

and understood that SGS expected remuneration for the professional services rendered. Indeed,

although Defendants were slow to pay SGS’s invoices, Defendants eventually paid all of SGS’s

billed invoices without objection dated November 2015 through January 2019.

       25.     At times when Defendants’ accounts were in extreme arrears, SGS would threaten

to stop performing further coal mine monitoring services and Defendants would pay at least a

portion of the arrearages.

       26.     For example, in or about August 2018, SGS notified Defendants that their

accounts were being turned over to collections and that SGS would not upload any data to the

regulatory agencies’ online portal until SGS received a $400,000 payment on outstanding

invoices.

       27.     Similarly, in November 2018, Clarke Investments arranged for a wire transfer to

SGS on the Phoenix Federal Defendants’ account to ensure that SGS continued performing coal



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mine monitoring services after the Phoenix Federal Defendants had accrued several months of

arrearages.

       28.     On or about January 18, 2019, Clarke Investments contacted SGS to confirm the

submission of a wire payment on behalf of the Phoenix Federal Defendants “in exchange for the

release of data that is due Sunday 1/20/19.” The correspondence also stated that either ERP or

Phoenix Federal would make additional payments in the following week to release additional

data. See Exhibit C (January 18, 2019 email from Lauren Etschmaier).

       29.     Similarly, on January 25, 2019, Clark Investments contacted SGS to confirm

another wire payment on behalf of the Phoenix Federal Defendants. After confirming the wire

payment, Clarke Investments requested information regarding continued coal mine monitoring

services and specifically authorized SGS to increase scope of its work.

   C. Defendants’ Failure to Pay SGS’s Invoices

       30.     Defendants’ last payment to SGS was for coal mine monitoring services

performed through December 2018 and February 2019 for the ERP Defendants and Phoenix

Federal Defendants, respectively. Defendants have refused to remunerate SGS for the significant

amount of coal mine monitoring services it subsequently performed despite repeated demands

for payment.

       31.     In or about June 2019, SGS informed defendants that coal mine monitoring

services would halt without the payment of outstanding invoices.

       32.     In or about July 2019, SGS notified Defendants that it had removed its sample

collectors from the field and would stop reporting sampling data to the regulatory authorities.

Clarke Investments responded that “we simply don’t have those funds available” and asked

about releasing data “for less money at this time with a firm agreement to pay these amounts



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once the sales complete? We are happy to assign these sales to SGS directly to ensure the

amount owed is paid.” See Exhibit D (July 16, 2019 email from Lauren Etschmaier).

       33.     In August 2019, Clarke Investments wired a payment to SGS to pay open Phoenix

Federal Defendant invoices to allow SGS to resume performing coal mine monitoring services.

See Exhibit E (August 2, 2019 email from Lauren Etschmaier).

       34.     Later that month, in connection with renewing its permits at the coal mines Clarke

Investments had sold to Phoenix Federal, Clarke Investments sent permit renewal documents to

SGS and specifically requested that SGS perform the requisite sampling in support of Clarke

Investments’ permit renewal application since Clarke Investments was still the permittee at these

mines. See Exhibit F (August 5, 2019 email from Lauren Etschmaier). Upon information and

belief, as noted above, Clarke Investments’ status as a permittee of these coal mines is one of the

primary reasons Clarke Investments and Phoenix Federal contracted with SGS to perform the

coal mine monitoring services at these particular coal mines.

       35.     Further, the ERP Defendants made a payment to SGS in August 2019 on a portion

of the ERP Defendants’ arrearages in an effort to convince SGS to resume performing the coal

mine monitoring services.

       36.     Thereafter in September 2019, Defendants failed to continue making payments on

the remainder of the outstanding invoices and SGS removed its samplers from the field.

   D. SGS’s Ongoing Efforts to Collect Payment from Defendants

       37.     In or about September 2019, SGS gave Defendants notice of its right to send the

their accounts to a third-party debt collector and, if necessary, initiate legal remedies to collect

payment. See Exhibit G (September 19, 2019 email from Alexander Spong).




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       38.    Throughout October, November, and December of 2019, SGS repeatedly

demanded outstanding payment on Defendants’ significant arrearages but no payments were

received. The Defendants often acknowledged the significant arrearages they owed SGS but still

refused to remit payment.

       39.    Beginning in February 2019 and each moth thereafter up to an including

December 2019, SGS invoiced the ERP Defendants for coal mine monitoring services it had

performed. The ERP Defendants kept the invoices for a reasonable period of time and did not

object to the invoiced amounts.

       40.     Beginning in April 2019 and each moth thereafter up to an including October

2019, SGS invoiced the Phoenix Federal Defendants for coal mine monitoring services it had

performed. The Phoenix Federal Defendants kept the invoices for a reasonable period of time

and did not object to the invoiced amount.

       41.    During SGS’s business relationship with the ERP Defendants, SGS invoiced the

ERP Defendants $5,408,652.49 for coal mine monitoring services. Defendants have paid

$4,661,532.45, leaving an unpaid balance of $747,120.04.

       42.    Over the life of SGS’s business relationship with the Phoenix Federal Defendants,

SGS performed $209,414.74 in coal mine monitoring services for the Phoenix Federal

Defendants. SGS received four payments on the Phoenix Federal Defendants’ account for a total

of $110,566.12, leaving an outstanding balance of $98,848.62. Notably, upon information and

belief, all four payments came from Clarke Investments companies, including a credit card

transaction with a VISA under the name “Thomas Clarke.”




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       43.     To date, exclusive of interest, Defendants’ outstanding invoices total $845,968.66

with the ERP Defendants’ invoices totaling $747,120.04 and the Phoenix Federal Defendants’

invoices totaling $98,848.62.

                                           COUNT I

                         Breach of Contract – Against All Defendants

       44.     Plaintiff SGS re-alleges and incorporates by reference each and every allegation

set forth in paragraphs 1-43.

       45.     In or about October 2015, pursuant to ERP and Clarke Investments’ specific

requests via e-mail, SGS agreed to perform coal mine monitoring services for the ERP

Defendants at certain locations SGS had previously performed coal mine monitoring services for

Peabody Energy and Patriot Coal.

       46.     In or about May 2018, pursuant to Phoenix Federal and Clarke Investments’

specific requests, SGS agreed to perform coal mine monitoring services for the Phoenix Federal

Defendants at certain locations at which SGS had previously performed coal mine monitoring

services for ERP.

       47.     As such, Defendants requested, and, SGS agreed, to perform coal mine

monitoring services at certain of Defendants’ coal mines in West Virginia in exchange for

Defendants compensating SGS at an established, agreed upon, and stated rate for these services

and in accordance with SGS’s General Conditions of Service.

       48.     Accordingly, SGS and the ERP Defendants entered into a binding and enforceable

contract obligating SGS, on the one hand, to perform coal mine monitoring services at certain

coal mines in West Virginia and obligating the ERP Defendants, on the other hand, to

compensate SGS for the services performed.



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        49.     Similarly, SGS and the Phoenix Federal Defendants entered into a binding and

enforceable contract obligating SGS, on the one hand, to perform coal mine monitoring services

at certain coal mines in West Virginia and obligating the Phoenix Federal Defendants, on the

other hand, to compensate SGS for the services performed.

        50.     Pursuant to the contracts set forth above, SGS did, in fact, perform the coal mine

monitoring services for Defendants in West Virginia from in or about November 2015 to

December 2019 and from in or about May 2018 to October 2019 for the ERP Defendants and

Phoenix Federal Defendants, respectively.

        51.     SGS timely provided a series of invoices to Defendants for the coal mine

monitoring services it had performed, which Defendants accepted without objection.

Defendants, however, failed, as agreed, to pay SGS’s invoices to the ERP Defendants dated

February 2019 to December 2019 (“Subject ERP Defendant Invoices”) and invoices to the

Phoenix Federal Defendants dated April 2019 to October 2019 (“Subject Phoenix Federal

Defendant Invoices”). Appended hereto are true and accurate copies at hereto as Exhibit H

(Subject ERP Defendant Invoices) and Exhibit I (Subject Phoenix Federal Defendant Invoices).

        52.     Each of the Subject ERP Defendant Invoices and each of the Subject Phoenix

Federal Defendant Invoices contains a general description of the services performed, unit price

of each service, the total amount invoiced, the payment term of thirty days, the payment due

date, and also expressly incorporates SGS’s General Conditions of Service, which, in relevant

part, states as follows:

    4. FEES AND PAYMENT

                *          *   *      *       *        *     *       *      *

        (b) Unless a shorter period is established in the invoice, Client will promptly pay
        not later than 30 days from the relevant invoice date or within such other period as
        may be established by the Company in the invoice (the “Due Date”) all fees due to
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       the Company failing which interest will become due at a rate of 1.5% per month
       (or such other rate as may be established in the invoice) from the Due Date up to
       and including the date payment is actually received.

               *      *       *      *       *        *      *      *       *

       (d) Company may elect to bring action for the collection of unpaid fees in any court
       having competent jurisdiction.

       (e) Client shall pay all of the Company’s collection costs, including attorney’s fees
       and related costs.

       53.     Further, SGS’s and Defendants’ conduct clearly show that each party intended to

be bound by the contracts. Defendants explicitly requested that SGS continue performing the

coal mine monitoring services at the same locations and under the same terms that SGS had

performed the services for Patriot Coal upon Defendants taking over the coal mine locations;

SGS performed the coal mine monitoring services; SGS issued Defendants a series of invoices

reflecting the services SGS had performed; and Defendants eventually paid SGS for the coal

mine monitoring services reflected in invoices dated prior to the Subject ERP Defendant

Invoices and the Subject Phoenix Federal Defendant Invoices.

       54.     SGS fully performed all conditions, covenants, obligations, and promises under

the above-referenced contracts in accordance with the terms thereof, and fully performed the

agreed upon coal mine monitoring services.

       55.     Defendants’ failure to pay the Subject ERP Defendant Invoices and the Subject

Phoenix Federal Defendant Invoices constitute material breaches of the corresponding above-

referenced contracts, and triggers the accrual of 1.5% interest per month, each and every month

up to the filing of this Complaint, on all the Subject ERP Defendant Invoices and the Subject

Phoenix Federal Defendant Invoices since Defendants failed to pay any of the invoices by the

specified due dates. Summary of Subject ERP Defendant Invoices appended hereto as Exhibit J;

Summary of Subject Phoenix Federal Defendant Invoices appended hereto as Exhibit K.

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       56.     Moreover, as a result of Defendants’ wrongful conduct, SGS has been required to

incur expenses, including retaining undersigned counsel to enforce its rights under the contracts,

and will continue to incur expenses and attorneys’ fees in enforcing its rights under the contracts.

SGS will state the precise amount of the incurred expenses and attorneys’ fees when known in

accordance with proof, and such fees and costs are claimed against Defendants pursuant to the

contracts herein alleged.

       57.     As a direct and proximate consequence of Defendants’ breach, inclusive of

monthly interest accruing at 1.5% per month under the agreed terms, SGS has sustained damages

of $947,071.79 plus pre-judgement interest, together with attorneys’ fees, late fees, and costs.

                                            COUNT II

                            Quantum Meruit – Against All Defendants

       58.     Plaintiff re-alleges and incorporates each and every allegation set forth in

Paragraphs 1-57 above.

       59.     SGS performed coal mine monitoring services for Defendants in West Virginia

from in or about November 2015 to December 2019 for the ERP Defendants and from in or

about May 2018 to October 2019 on behalf of the Phoenix Federal Defendants.

       60.     SGS performed the coal mine monitoring services for each of the Defendants’

benefit, and Defendants knew SGS was performing the coal mine monitoring services since

Defendants asked SGS to perform same.

       61.     Each of the Defendants accepted and benefitted from SGS’s coal mine monitoring

services because the services were, inter alia, necessary for Defendants to comply with their

legal regulatory obligations.




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        62.     Further, each Defendant knew, or reasonably should have known, that SGS

expected remuneration for the coal mine monitoring services. Indeed, Defendants paid SGS for

substantially similar coal mine monitoring services it had performed for the ERP Defendants

prior to January 2019 and for the Phoenix Federal Defendants prior to March 2019.

        63.     Defendants, however, have refused to compensate SGS for the coal mine

monitoring services it performed as reflected in the Subject ERP Defendant Invoices and the

Subject Phoenix Federal Defendant Invoices.

        64.     Thus, SGS is entitled to the reasonable value of the uncompensated coal mine

monitoring services it performed for Defendants, which totals $947,071.79 plus pre-judgement

interest, together with attorneys’ fees, late fees, and costs.

                                             COUNT III

                          Unjust Enrichment – Against All Defendants

        65.     Plaintiff re-alleges and incorporates each and every allegation set forth in

paragraphs 1-64 above.

        66.     As set forth above, Defendants have unjustly benefited from the uncompensated

coal mine monitoring services SGS performed in or about January 2019 to December 2019 for

the ERP Defendants and in or about March 2019 to October 2019 on behalf of the Phoenix

Federal Defendants.

        67.     SGS did not freely perform the referenced coal mine monitoring services, which

Defendants knew or should have known, as evidenced by SGS’s repeated demands for payment.

        68.     Defendants have no legal justification for not paying for the coal mine monitoring

services, as evidenced by Defendants’ acknowledgment that they are indebted to SGS for the

coal mine monitoring services.



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         69.   As a direct and proximate result of Defendants’ deliberate failure of to

compensate SGS for the full and reasonable value of the coal mine monitoring services,

Defendants have been unjustly enriched and SGS has been correspondingly damaged in the total

amount of $947,071.79 plus pre-judgement interest, together with attorneys’ fees, late fees, and

costs.

                                            COUNT IV

                            Account Stated – Against All Defendants

         70.   Plaintiff re-alleges and incorporates each and every allegation set forth in

paragraphs 1-69 above.

         71.   Pursuant to Defendants’ explicit request, SGS performed coal mine monitoring

services for which Defendants agreed to pay SGS. SGS and each Defendant is a sophisticated

corporate entity.

         72.   SGS furnished invoices to Defendants that memorialized the coal mine

monitoring services SGS had performed for Defendants. True and accurate copies of the

invoices are attached herein as the Subject ERP Defendant Invoices and the Subject Phoenix

Federal Defendant Invoices. See Exhibits H and I.

         73.   On numerous occasions, SGS has demanded payment from Defendants but

Defendants have failed to remunerate SGS. A reasonable time has passed since SGS provided

the invoices to Defendants and Defendants have not objected to the invoices. Rather, Defendants

have acknowledged that they are indebted to SGS for the amounts reflected in the invoices.

         74.   Therefore, Defendants owe SGS $947,071.79 as reflected in the subject invoices

plus pre-judgement interest, together with attorneys’ fees, late fees, and costs.




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                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff SGS respectfully requests that this Court grant the following

relief:

          A.     A judgment in favor of SGS and against each Defendant on all Counts of this

Complaint;

          B.     Award SGS all monetary damages it has sustained as a result of Defendants’

breach of contract, quantum meruit, unjust enrichment, and account stated pursuant to Counts I,

II, III, and IV including without limitation an amount equal to $947,071.79 as documented in the

Subject ERP Defendant Invoices and the Subject Phoenix Federal Defendant Invoices;

          C.     Award SGS all costs and fees incurred in pursuing this debt, including attorneys’

fees;

          D.     Award SGS pre-judgment and post-judgment interest; and

          E.     Grant such other and further relief as the Court deems just and proper.


Dated: March 24, 2020                                 Respectfully submitted,

                                                      SGS NORTH AMERICA, INC.,

                                                      By Counsel,

                                                       /s/ Michael C. Cardi
                                                      Michael C. Cardi (WV Bar No. 12228)
                                                      Kayla A. Cook (WV Bar No. 11969)
                                                      BOWLES RICE LLP
                                                      125 Granville Square, Suite 400
                                                      Morgantown, WV 26501
                                                      (304) 285-2500
                                                      mcardi@bowlesrice.com
                                                      kcook@bowlesrice.com

                                                              AND




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                                       Julius M. Redd (to be admitted PHV)
                                       BEVERIDGE & DIAMOND, P.C.
                                       1350 I Street, NW, Suite 700
                                       Washington, DC 20005
                                       (202) 789-6000
                                       jredd@bdlaw.com

                                       Counsel for Plaintiff SGS North America,
                                       Inc.




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